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Attorneys for Plaintiffs
TRAFFICSCHOOL.COM, INC. and

DRIVERS ED DIRECT, LLC, California companies.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

TRAFFICSCHOOL.COM, INC.

a California corporation; DRIVERS ED
DIRECT, LLC, a California limited
liability company,

Plaintiffs,
VS.

EDRIVER, INC., a California
corporation: ONLINE GURU INC.,

FIND MY SPECIALIST, INC, and
SERIOUSNET, INC., California
corporations; RAVI k. LAHOTI, an
individual; RAJ LAHOTI, an individual;
and DOES 1 through 10,

Defendants.

4819-1381-6834.1

Case No. CV 06-7561 PA (CWx)
The Honorable Percy Anderson

PLAINTIFFS’ NOTICE OF FILING
PLAINTIFFS’ MARKED COPY OF
DEFENDANTS’ POST TRIAL
[PROPOSED] FINDINGS OF FACT
AND CONCLUSIONS OF LAW AS
ORDERED BY THE COURT ON
JANUARY 16, 2008

Complaint Filed: November 28, 2006

PLAINTIFFS’ NOTICE OF FILING PLAINTIFFS’ MARKED UP COPY OF DEFENDANTS’ POST TREAL
[PROPOSED] FINDINGS OF FACT AND CONCLUSIONS OF LAW, ETC,

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TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD:

Plaintiffs TRAFFICSCHOOL.COM and DRIVERS ED DIRECT, LLC, pursuant
to the Court's Order of January 16, 2008, hereby file the attached document, namely,
"[PLAINTIFFS’ MARKED COPY OF] DEFENDANTS' POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW.”

DATED: January 24, 2008 LEWIS BRISBOIS BISGAARD & SMITH LLP

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PLAINTIFFS’ NOTICE OF FILING PLAINTIFFS’ MARKED UP COPY OF DEFENDANTS’ POST TRIAL

[PROPOSED] FINDINGS OF FACT AND CONCLUSIONS OF LAW, ETC.

